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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 UNITED STATES OF AMERICA,                      )
                                                )
        v.                                      )
                                                )     Criminal Action. No. 23-0061 (MN)
 ROBERT HUNTER BIDEN,                           )
                                                )
                        Defendant.              )

                                              ORDER

       At Wilmington, this 17th day of August 2023;

       WHEREAS, the United States has moved “to vacate the Court’s briefing order of

July 26, 2023, as moot” (D.I. 25 at 1); and

       WHEREAS, Defendant agrees that the issues on which the Court requested briefing are

moot and does not oppose the United States’ motion (D.I. 27).

       THEREFORE, IT IS HEREBY ORDERED that the United States’ motion to vacate the

Court’s briefing order of July 26, 2023 (D.I. 25) is GRANTED.



                                                    The Honorable Maryellen Noreika
                                                    United States District Judge
